                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

In re:

Regina Bernice Crocheron,                                                Case No. 16-47940-MAR
                                                                         Chapter 7
               Debtor.                                                   Hon. Mark A. Randon
__________________________/

                      EX PARTE ORDER APPROVING TRUSTEE’S
                        EMPLOYMENT OF SPECIAL COUNSEL

         This matter came before the Court on the Trustee’s ex parte application to employ special counsel. The

Court has reviewed the application and is satisfied that the same is in good order. The Court is otherwise fully

advised in the premises.

         IT IS ORDERED as follows:

         A.        The Trustee is authorized to employ the services of Klemanski & Associates, PC as special

counsel on a one-third contingency fee basis under 11 U.S.C. § 328. The contingency fee will be calculated on the

net recovery, after costs are paid.

         B.        All fees and expenses sought by Klemanski & Associates, PC are conditioned upon court

approval.


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Signed on August 01, 2016
                                                                ___/s/ Mark A. Randon     _ __
                                                                Mark A. Randon
                                                                United States Bankruptcy Judge




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